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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr35
                                     )   Hon. Emmet G. Sullivan
JACK WADE WHITTON,                   )
      Defendant.                     )
____________________________________)

              DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO
                  DEFENDANT’S MOTION TO COMPEL DISCOVERY

       Comes now Defendant Jack Wade Whitton, by counsel, and replies to the

government’s Opposition (Doc 202, “Opp”) to his Motion to Compel Disclosure (Doc 199).

       The government scoffs at Defendant’s Motion to Compel Discovery of all

communications between the Department of Justice (“DOJ”) and the House Select

Committee to Investigate the January 6th Attack on the United States Capitol (the

“Committee”) - but relies on misdirection and non sequitur to do so.

The Instant Motion Does Not Rely on Fed. R. Crim. P 16.

       The government states that Rule 16 does not contemplate the relief sought in the

motion. Opp at 3. The motion, however, nowhere relies on Rule 16.

The Instant Motion Does Not Allege Selective Prosecution.

       The government avers that defendant has produced no evidence of selective

prosecution. Opp at 6. The motion, however, alleges a different variant of prosecutorial

misconduct – namely, the intentional poisoning of the jury pool. The fact that two different

branches of government, the Executive and the Legislative, Opp at 3, may have had a hand

in the poisoning does not diminish the damage to Defendant’s right to an impartial jury.




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       The “presumption of regularity” attached to the government’s prosecution choices,

Opp at 6, quoting United States v. Armstrong, 517 U.S. 456, 464 (1996), only prevails “in the

absence of clear evidence to the contrary.” Id. Any presumption of regularity in the

broader context of prosecutorial misconduct as a whole (e.g., in intentionally poisoning a

jury pool) should be no less vulnerable to evidence suggesting a lack of such regularity.

       In fact, a prosecutor’s poisoning of a jury pool stands among the most egregious

examples of prosecutorial misconduct.

              “[Having done so] breached all standards of prosecutorial
              ethics, gave the government a surreptitious advantage in
              influencing public opinion, the venire panel, and the trial itself.

United States v. Bowen, 799 F. 3d 336, 353 (5th Cir. 2015).

       Such conduct by a prosecutor falls within:

              “the category of errors capable of infecting the integrity
              of the prosecution to a degree warranting a new trial
              irrespective of prejudice.

Id.

       The Committee’s repeated publication of restricted discovery evidence and its

members’ express pronouncements of their intention to share the Committee’s findings

with the DOJ clearly suggest irregular decisions on the part of DOJ and/or the Committee

and connote an order of reliability exceeding that of evidence merely “personal” or

“anecdotal.” Opp at 6, quoting Armstrong,

Neither the Scope of the Committee’s Hearings Nor the Breadth of Its Audience
Supports a Denial of the Motion.

       The government takes the utterly untenable position that Defendant cannot claim

individual prejudice since the Committee’s hearings comprised the whole day as opposed

to his conduct in particular. Opp at 2. As a member of the group demonized by the


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Committee, however, Defendant is unquestionably prejudiced by the Committee’s virulent

portrayal of the day’s protesters as a whole.

       The government cites United States v. Haldeman, 559 F. 2d 31 (D.C. Cir. 1976) (en

banc) (per curiam), to claim that the Committee’s national audience should preclude venue

relief. Opp at 1-2. Haldeman concerned the hearings of the Senate Watergate Committee.

While both the Watergate scandal and the January 6th riot implicate concerns touching the

entire nation, only the latter has unique pertinence to this District - being the locus of the

mass violence in question and of the onerous security measures imposed for months

afterwards.

                                         CONCLUSION

       The government states:

               “The voir dire process can thus assure that no one who
              shares Whitton’s view that the Select Committee hearings
              offer ‘emotionally charged and prejudicial descriptions’
              (Mot 2) in a manner that prevents that person from fairly
              and impartially considering the evidence is seated on the jury.

Opp at 2-3.

       The government appears to be saying that effective voir dire will preclude the

seating of any venireman sufficiently astute to recognize the inherent bias of the

Committee’s hearings. Presumably, the government attaches no concern to the seating of

veniremen not so endowed. Bias, however, is rarely the province of the astute.

                                                    Respectfully Submitted,

                                                    JACK WADE WHITTON
                                                    By Counsel

                                                    _____/s/____________
                                                    John C. Kiyonaga



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                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on July 19, 2022, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.

                                                      ____/s/_____________
                                                      John C. Kiyonaga




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